






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00010-CV






Walter Lee Hall, Jr., in all other necessary capacity, Appellant


v.


U.S. Bank National Association, as Trustee, on Behalf of the Holders of the Asset Backed
Pass-Through Certificates, Series NC 2005-HE4, Appellee






FROM THE COUNTY COURT AT LAW NO. 1 OF TRAVIS COUNTY

NO. C-1-CV-07-010248, HONORABLE J. DAVID PHILLIPS, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


	On November 12, 2008, the trial court signed an order dismissing the lawsuit filed
by appellant Walter Lee Hall, Jr.  The notice of appeal was therefore due on December 12, 2008. 
See Tex. R. App. P. 26.1.  Hall did not mail his notice of appeal, however, until December 29, 2008,
the Monday following fifteen days from December 12.  See id. R. 4.1(a), 26.3.  In his notice of
appeal, Hall did not explain why he was late in filing and instead asserted that he had forty-five days
to perfect his appeal.

	Hall is incorrect that, "properly accounting for an implied motion to extend," he had
forty-five days to file his notice of appeal.  Instead, as the rules clearly state, absent post-judgment
motions that extend the time to perfect an appeal, a "notice of appeal must be filed within 30 days
after the judgment is signed," and this Court "may extend the time to file the notice of appeal if,
within 15 days after the deadline," the party provides "a motion complying with Rule 10.5(b)." 
Id.&nbsp;R. 26.1, 26.3 (emphasis added).  Rule 10.5 requires a party seeking additional time to file a
document to state "the facts relied on to reasonably explain the need for an extension."  Id. R.
10.5(b)(1)(C).  Hall is correct that the supreme court has held that a motion for extension of time to
perfect an appeal is implied when an appellant files a notice of appeal outside the thirty days
provided by rule 26.1 but within fifteen days of that deadline.  See Verburgt v. Dorner, 959 S.W.2d
615, 616-17 (Tex. 1997).  The supreme court has instructed us to liberally construe the rules in favor
of preserving the right to appeal of a party who makes a bona fide (1) attempt to invoke our jurisdiction,
id. at 616, and to give an appellant the opportunity to cure error when possible in favor of reaching
the merits of an appeal, Warwick Towers Council of Co-Owners v. Park Warwick, L.P., 244 S.W.3d
838, 839 (Tex. 2008) (quoting Grand Prairie Indep. Sch. Dist. v. South Parts Imp., Inc., 813 S.W.2d
499, 500 (Tex. 1991)).  However, a party who inadvertently misses the deadline for perfecting his
appeal must still provide "a reasonable explanation for his failure to timely file."  Verburgt,
959&nbsp;S.W.2d at 617.  

	Upon review of the clerk's record, the Clerk of this Court sent Hall a letter explaining
that his notice of appeal was untimely filed but still within the fifteen-day window provided by
rule&nbsp;26.3.  Our notice informed Hall that although he had not filed a motion for extension of time,
we "may consider one yet filed," and stated, "Unless any party submits a motion to my office by
May&nbsp;18, 2009, in compliance with Tex. R. App. P. 10.5(b), the Court will dismiss the appeal."  Hall
filed a response in which he "decline[d] to regurgitate or otherwise repeat the facts, arguments, and
authorities in support of this Court's jurisdiction, particularly in light of Implied Motion to Extend.
. . . The material question at hand is whether this Court grants or has already granted Implied Motion
to Extend--not whether such a motion is or should be implied." 	

	Hall did not provide this Court with a reasonable explanation for why he needed
additional time to file his notice of appeal, nor can we glean any such explanation from the notice
of appeal itself.  Hall has not stated that he inadvertently missed a deadline or miscalculated when
his thirty days ran; instead he acknowledges the thirty-day deadline imposed by rule 26.1, admits that
he waited until the very last day of the possible and discretionary fifteen-day extension period to file
his notice of appeal, and has "declined" to provide the required motion for extension of time, all of
which are intentional and deliberate decisions to disregard the rules of appellate procedure.  See
Garcia v. Kastner Farms, Inc., 774 S.W.2d 668, 669 (Tex. 1989) (interpreting former Rule 41(a)(2)
and holding that reasonable explanation is defined as plausible explanation showing that failure to
timely file was not deliberate or intentional); Heritage Life Ins. Co. v. Heritage Group Holding
Corp., 751 S.W.2d 229 (Tex. App.--Dallas 1988, writ denied) ("Anything short of deliberate or
intentional noncompliance falls within the area of inadvertence, mistake, or mischance.").  Even
though we pointed out Hall's error to him and required a motion satisfying rule 10.5, with dismissal
the penalty for noncompliance, Hall failed to provide an explanation for his need for additional time
and chose instead to rely solely on his "implied motion to extend."

	Because Hall has not provided a reasonable explanation for why he was late in filing
his notice of appeal, we hold that no good cause exists to extend Hall's filing deadline and overrule
his implied motion for extension of time to perfect his appeal.  See Weik v. Second Baptist Church,
988 S.W.2d 437, 439 (Tex. App.--Houston [1st Dist.] 1999, pet. denied) ("These actions show an
intentional course of conduct on the part of appellant to delay the filing of his appeal bond. The
decision to file his appeal bond after the expiration of 90 days was not the result of inadvertence,
mistake, or mischance."); see also Lackey v. McCool, No., 07-03-0464-CV, 2004 Tex. App. LEXIS
43, at *2-3 (Tex. App.--Amarillo Jan. 6, 2004, no pet.) ("It is not enough to simply file a notice of
appeal"; party "must still reasonably explain the need for an extension.").

	Because we overrule Hall's implied motion to extend, the appeal was not timely filed,
and we lack the authority to consider his untimely filed appeal. (2)  We therefore dismiss the cause for
want of jurisdiction and overrule all pending motions as moot.  See Tex. R. App. P. 42.3.


					__________________________________________

					David Puryear,  Justice

Before Chief Justice Jones, Justices Puryear and Henson

Dismissed for Want of Jurisdiction

Filed:   June 5, 2009
1.   A bona fide attempt is one "[m]ade in good faith," "without fraud or deceit," "[s]incere,
genuine."  Black's Law Dictionary 168 (7th ed. 1999).  Hall's conduct in this and his other cases,
both in this Court and in the lower courts, suggest gamesmanship instead of acts made in good faith.
2.   We also have the authority to dismiss Hall's appeal under rule 42.3(c) for his failure to
comply with the Clerk's notice that "requir[ed] a response or other action within a specified time." 
Tex. R. App. P. 42.3(c).


